               05-44481-rdd    Doc 10728-9           Filed 10/26/07 Entered 10/26/07 10:27:21 Exhibit E-2
      In re Delphi Corporation, et al.                       Pg 1 of 1       Twenty-First Omnibus Claims Objection
      Case No. 05-44481 (RDD)
         EXHIBIT E-2 - UNTIMELY TAX CLAIMS
             CREDITOR'S NAME AND             CLAIM                   ASSERTED                  DATE              DOCKETED
                   ADDRESS                  NUMBER                 CLAIM AMOUNT                FILED              DEBTOR


  GUILFORD COUNTY TAX                        16621              Secured:                      07/03/2007   DELPHI CORPORATION
  DEPARTMENT                                                     Priority:          $117.84                (05-44481)
  PO BOX 3328                                              Administrative:
  GREENSBORO, NC 27420                                        Unsecured:
                                                                    Total:          $117.84

                                   Total:      1                                    $117.84




*UNL stands for unliquidated
                                                                      Page 1 of 1
